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                                          6     Wilmer Mangandi
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                                          8                              UNITED STATES DISTRICT COURT
                                          9                           SOUTHERN DISTRICT OF CALIFORNIA
                                         10
                                         11        WILMER MANGANDI,                                        Case No: 3:18-cv-01797-AJB-BGS
                                         12
                                                                           Plaintiff,
HYDE & SWIGART
                 San Diego, California




                                         13        v.                                                      NOTICE OF VOLUNTARY
                                                                                                           DISMISSAL OF ACTION WITH
                                         14
                                                   EQUIFAX INFORMATION                                     PREJUDICE
                                         15        SERVICES, LLC,
                                         16
                                                                           Defendant.
                                         17
                                         18          Plaintiff WILMER MANGANDI and Defendant, EQUIFAX INFORMATION
                                         19     SERVICES, LLC, hereby move this Court to dismiss the above-entitled action with
                                         20     prejudice.
                                         21          WHEREFORE, the parties respectfully request that this Court dismiss this
                                         22     action with prejudice pursuant to Rule 41(a)(1) of the Federal Rules of Civil
                                         23     Procedure.
                                         24
                                         25                                                                   HYDE & SWIGART, APC
                                         26     Date: February , 2019                                         By: Yana A. Hart
                                         27                                                                   Yana A. Hart, Esq.
                                                                                                              Attorneys for Plaintiff
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                                                  NOTICE OF DISMISSAL                      - ! 1 of !2 -                3:18-cv-01797-AJB-BGS
                                              Case 3:18-cv-01797-AJB-BGS Document 14 Filed 02/20/19 PageID.64 Page 2 of 2



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                                          2                                                                      NOKES & QUINN

                                          3
                                          4     Date: February 20, 2019                                           By: s/ Thomas P. Quinn, Jr.
                                                                                                                  Thomas P. Quinn, Esq.
                                          5                                                                       Attorneys for Defendant
                                          6
                                                                                    Signature Certification
                                          7
                                          8            Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
                                          9     Policies and Procedures Manual, I hereby certify that the content of this document
                                         10     is acceptable to counsel for Defendant and that I have obtained Mr. Quinn’s
                                         11     authorization to affix his electronic signature to this document.
                                         12
HYDE & SWIGART
                 San Diego, California




                                         13     Date: February 20, 2019                                    By: s/ Yana A. Hart
                                         14                                                                      Yana A. Hart, Esq.
                                                                                                                 Attorneys for Plaintiff
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                                                  NOTICE OF DISMISSAL                      - ! 2 of !2 -                  3:18-cv-01797-AJB-BGS
